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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                          Case No.: 6:22-cv-0047-WWB-RMN

 BETHUNE-COOKMAN UNIVERSITY, INC.,

       Plaintiff,

 v.

 DR. MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION, INC.;
 MARY MCLEOD BETHUNE NATIONAL
 ALUMNI ASSOCIATION, INC., and
 JOHNNY L. MCCRAY, JR.,
 Individually,

      Defendants.
 _________________________________/

        PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS,
                 30(b)(6) DEPOSITION, AND ATTORNEYS’ FEES

       Pursuant to Fed. R. Civ. P. 37 and the Order at D.E. 5, Plaintiff moves for an order

 compelling documents responsive to the University’s Second Request for Production

 (“Second Request”) and a deposition under Rule 30(b)(6).

       On June 16, 2023, the University served its Second Request (Exhibit A), to which

 Defendants responded on July 17th (Exhibit B). Apart from 42 pages of news articles and

 a copy of Plaintiff’s letter, Defendants produced no responsive documents. Instead,

 Defendants asserted boilerplate objections previously deemed improper by the Court. Id.;

 (D.E. 83 at 3). On July 21st Plaintiff emailed Defendants requesting they remedy these

 deficiencies (Exhibit C). The parties conferred by phone July 28th, resulting in narrowed
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 requests. (Exhibit D). To date, Defendants have still not produced any additional

 documents.

        Defendants also failed to produce a properly-prepared witness in response to

 Plaintiff’s Rule 30(b)(6) Deposition Notice. Defendants’ Vice President, Michael Shorter,

 designated by Defendants on all non-financial topics, confirmed he did nothing to prepare

 for the deposition, lacked knowledge on many topics noticed, and that Anthony Barfield

 or others had knowledge on multiple topics. Exhibit E at 44:21-45:19; 48:17-49:12; 59:14-

 18; 65:13-25; 71:11-72:14; 74:17-75:11; 76:2-20; 82:2-85:23; 88:17-91:7; 92:20-93:11;

 94:14-95:4; 97:2-8; 98:10-21; 99:3-14; 111:11-112:9; 199:8-202:5. Defendant McCray

 also independently confirmed Mr. Barfield is knowledgeable on many topics. Exhibit F at

 13:5-15; 41:24-42:7; 43:7-19; 52:23-53:10; 143:20-144:3; 145:1-14; 182:17-183:13;

 194:9-198:3; 303:8-15. Defendants now agree in principle to produce Mr. Barfield, but

 failed to provide dates. Plaintiff requests an order requiring a deposition of him or a

 properly prepared Rule 30(b)(6) witness to address all topics noticed, and that

 Defendants bear all costs/fees related to his deposition.

        Parties may obtain discovery regarding any matter relevant to the claim or defense

 of any party. Bukh v. Guldmann, Inc., 2015 WL 6736774, at *1 (M.D. Fla. Nov. 4, 2015).

 “Boilerplate objections such as … ‘overly broad, unduly burdensome, and outside the

 scope of permissible discovery’ are insufficient without a full, fair explanation particular to

 the facts of the case.” Middle District Discovery (2021), Section III.A.6. If a motion to

 compel is granted or documents are produced after its filing, the Court must require the

 party whose conduct necessitated the motion, or the party or attorney advising that

 conduct, or both, to pay the movant’s expenses related to the motion, including attorney’s


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 fees. Fed. R. Civ. P. 37(a)(5).

        Plaintiff respectfully requests an Order compelling: (i) Defendants to produce

 documents responsive to Requests No. 41, 47-52, 60, and 62-64; (ii) compelling

 Defendants to produce Anthony Barfield and any other properly-prepared corporate

 representatives to address the topics noticed in Plaintiff’s Third Amended 30(b)(6) Notice,

 at Defendants’ expense; and (iii) awarding attorneys’ fees and costs pursuant to Rule

 37(a), and any other appropriate relief.

                     CERTIFICATE OF GOOD FAITH CONFERRAL

        Pursuant to L.R. 3.01(g), the undersigned certifies that he met and conferred with

 Defendants’ counsel, Elana Faniel, Esq., on the foregoing issues on multiple occasions,

 including on July 28, 2023, by telephone, and also in multiple, subsequent emails

 including emails attached hereto, and again on August 28, 2023, by telephone, and by

 follow up emails on August 29th, 2023, regarding the relief requested herein; the parties

 were not able to agree upon the relief requested herein within the time frame requested,

 necessitating the filing of this Motion. The parties will continue to attempt to meet and

 confer to attempt to resolve or narrow the issues and update this Certificate if any such

 agreements are reached.

                                                 Respectfully submitted,

                                                 s/Gregory W. Herbert
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                              CERTIFICATE OF SERVICE

       I certify that on August 29, 2023, the foregoing was electronically filed with the
 Court by the CM/ECF system, which will send a notice to counsel of record.

                                                s/Gregory W. Herbert




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